                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA


UNITED STATES OF AMERICA,                      )
                                               )
               Plaintiff,                      )
                                               )
v.                                             )              No. 1:15-cr-91-TRM-SKL
                                               )
RAY FOSTER,                                    )
                                               )
               Defendant.                      )


                            REPORT & RECOMMENDATION

        Before the Court is a motion to suppress filed by Defendant Ray Foster (“Defendant”)

[Doc. 139].1   In the motion, Defendant argues for suppression of statements he made to law

enforcement officers on three separate occasions because his Fifth and Sixth Amendment rights

and Miranda v. Arizona, 384 U.S. 436, 479 (1966) were violated.      Plaintiff United States of

America (“the Government”) filed a response in opposition to the motion arguing suppression is

not warranted because no constitutional or Miranda violation occurred [Doc. 155]. At the

hearing, Defendant orally modified his motion to seek suppression of the evidence found during

a warrantless search of his residence because his consent was not knowing and voluntary and,

even if it was, the search exceeded the scope of his consent when the camper and truck parked at




1
  The motion to suppress was referred for a report and recommendation pursuant to 28 U.S.C. §
636(b) by standing order. An evidentiary hearing on the motion to suppress originally scheduled
for April 18, 2016, was delayed pending the mental evaluation of Defendant pursuant to 18 U.S.C.
§§ 4241, 4242, and 4247 [Docs. 175 & 184]. After Defendant was held to be competent on
August 30, 2016 [Doc. 314], a hearing on the motion to suppress was held September 13, 2016.




     Case 1:15-cr-00091-TRM-SKL        Document 341        Filed 09/28/16     Page 1 of 27
                                       PageID #: 2089
his residence were searched.2   The parties submitted post-hearing briefs [Docs. 330 & 332] and

this matter is now ripe.   For the reasons stated below, I RECOMMEND that Defendant’s

motion to suppress be DENIED.

I.      FACTS

        The motion involves three statements provided by Defendant and a warrantless search of

Defendant’s premises during which law enforcement officers recovered methamphetamine and

other evidence from Defendant’s parked camper and truck. The first statement and the search

took place on July 31, 2014. The second statement was provided at a public restaurant over six

months later on February 5, 2015. The final statement was provided more than six months later

on September 9, 2015, the day Defendant was arrested on the indictment in this case.

        During the evidentiary hearing held September 13, 2016, the Government offered the

testimony of Tennessee Bureau of Investigation (“TBI”) Special Agent Bryan Freeman.

Defendant offered the testimony of the State of Tennessee 10th Judicial Drug Task Force (“DTF”)

Officer Clay Moore. Defendant also testified.

           A. Officers’ Testimony

        Agent Freeman detailed his extensive law enforcement experience and training, described

his typical style of interrogation with open-ended questions asked in a civil and subdued manner,

and explained that, based on the thousands of interviews he has conducted and his familiarity with

witnesses who are incapacitated by or under the influence of illegal drugs, he would not begin or

would stop an interview if he thought a witness was high on drugs and incapable of making a

knowing, intelligent, and voluntary statement. Agent Freeman discussed typical physical and

2
   Another potential oral addition to the motion about his two post-arraignment proffered
statements was resolved by agreement when the Government represented it would not seek to use
Defendant’s proffered statements in its case-in-chief.



                                              2
     Case 1:15-cr-00091-TRM-SKL         Document 341        Filed 09/28/16      Page 2 of 27
                                        PageID #: 2090
verbal “tells” of drug intoxication such as falling down, slurring words, nonresponsive answers,

incoherent thought patterns, and the like. Agent Freeman testified that in all three interviews at

issue, Defendant did not exhibit these tells. To the contrary, Defendant was engaged and

expressed coherent thoughts and sentences, he did not fall, trip, or slur his words, and his responses

“tracked,” meaning they made sense based on information Agent Freeman was already aware of

from his investigation. Agent Freeman thought Defendant’s responses were not always truthful,

but that they were internally consistent and, because they comported with information gained from

other aspects of the investigation, were also externally consistent. Defendant was known to

Agent Freeman because he had interacted with Defendant in another investigation in 2006 or 2007.

               1. The July 31, 2014 Statement and Search

       Agent Freeman and Officer Moore testified regarding the circumstances of Defendant’s

first statement and the search of Defendant’s property. Based on information law enforcement

developed regarding Defendant’s involvement in methamphetamine activities, a decision was

made to attempt both a consensual interview of Defendant and a consensual search of his premises.

On July 31, 2014, Agent Freeman, Officer Moore, and Defendant’s Tennessee Department of

Corrections Probation Officer, Bill Robinson, went to Defendant’s residence to seek Defendant’s

consent for a search and interview. Both Agent Freeman and Officer Moore knew Defendant was

subject to a search without a warrant based on his conditions of parole. Officer Robinson was

present in case Defendant refused consent and it was necessary to conduct a “parole search.” For

strategic reasons, however, the officers planned to obtain consent if Defendant was willing so the

process would be more civil and because Agent Freeman believed Defendant would be more likely

to cooperate in the ongoing investigation if the search and interview were consensual.

       Upon arrival, Defendant and two other men were in or near a work shed. Defendant




                                               3
   Case 1:15-cr-00091-TRM-SKL            Document 341          Filed 09/28/16      Page 3 of 27
                                         PageID #: 2091
approached Agent Freeman and Officer Moore in the driveway. While Officer Robinson was

visible to Defendant, he stood back and did not participate in asking Defendant for consent to

search, did not interview Defendant, and did not participate in the search. Officer Robinson left

before the search was concluded. Agent Freeman explained to Defendant that he was suspected

of methamphetamine activities. Defendant said he was expecting law enforcement to come as he

was aware there were certain individuals talking to law enforcement about his involvement with

methamphetamine.

         Agent Freeman asked for consent to search for methamphetamine and drug activities and

Defendant was advised of his Miranda rights. Agent Freeman testified he did not tell Defendant

that he had to consent under the terms of his parole or because Officer Robinson was present.

Standard forms informing Defendant of his constitutional rights and waiving those rights were

read aloud to Defendant by Officer Moore and then given to Defendant to review on his own.

Defendant gave consent for the search and interview and signed and dated the consent forms on

July 31 prior to the initiation of any search or interview.3 When asked for his consent and during

the course of the interview, Defendant was never handcuffed or restrained, guns were never drawn,

and yelling or threats never occurred.

         After the forms were signed, other agents arrived to help with the search. In all, about

eight agents participated in the search, including Officer Moore and DTF Officer Bill Cherry.

The search lasted about four hours and, at times, Agent Freeman participated in the search.

Defendant’s girlfriend and infant were in the house during the search. Agent Freeman never

heard anyone threaten to call the Tennessee Department of Children’s Services (“DCS”) to remove

the infant.    Agent Freeman does not know who asked about and turned off the camera

3
    The executed forms dated July 31, 2014 are Government’s Exhibits 1 and 2.



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     Case 1:15-cr-00091-TRM-SKL          Document 341       Filed 09/28/16      Page 4 of 27
                                         PageID #: 2092
surveillance system in Defendant’s house and the system was not seized. Agent Freeman

testified that Defendant moved about the property during the search cooperatively talking to

various officers. Defendant was mostly outside the house during the search and interview.

Agent Freeman did not prohibit Defendant from entering the house or tell him to stay outside.

Agent Freeman also said Defendant was “let in” the house toward the end of the search.

         Officer Moore said he searched areas that were outside of the “residence,” but on the

property including the camper, truck, and a detached garage. Officer Moore testified the whole

property could be searched according to the terms of Defendant’s parole agreement. He also said

a large amount of methamphetamine4 was found in the camper toward the end of the search and

several cell phones were found in the truck. On cross-examination, Officer Moore testified that

he did not obtain consent from Defendant to search the truck and the camper. On redirect

examination, Officer Moore said the search form authorized a complete search of the premises and

that the reference to “residence” on the form includes the Defendant’s entire property and is not

limited to his house.

         Agent Freeman interrogated Defendant outside Defendant’s residence on the day of the

search.5 Defendant said he had methamphetamine in a pipe, but he did not say he had just smoked

methamphetamine.        Agent Freeman agreed that since Defendant confessed he had

methamphetamine in a pipe, it was reasonable to assume Defendant either had recently used

methamphetamine or intended to use it. Agent Freeman was not aware whether Defendant had

been awake for two weeks as Defendant now claims. Agent Freeman was aware Defendant was a

methamphetamine addict, meaning he used the drug often. Agent Freeman did not notice typical

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    In total between 18 and 19 grams of methamphetamine was seized.
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 Agent Freeman prepared an Investigative Report of the interview, which was entered as
Government’s Exhibit 3.


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     Case 1:15-cr-00091-TRM-SKL        Document 341         Filed 09/28/16     Page 5 of 27
                                       PageID #: 2093
addict or “high” behavior from Defendant, such as being animated, hyperactive, aggressive,

paranoid, or talkative at any of the interviews. Instead, Defendant was cooperative and at times

walked along with the officers as they searched various areas.

        Agent Freeman concluded that Defendant was not being fully candid and cooperative in

the July 31 interview. At the conclusion of the interview, however, Defendant was not arrested

because Agent Freeman hoped Defendant would cooperate in the ongoing conspiracy

investigation. Agent Freeman told Defendant the investigation was continuing and he requested

Defendant’s cooperation with the ongoing investigation. Agent Freeman left his business card

and phone number with Defendant so Defendant could contact Agent Freeman if he decided to

cooperate.

        Between the first statement on July 31, 2014 and the second statement on February 5,

2015, Defendant initiated contact with Agent Freeman a few times to again claim he was merely

an addict and to ask about the status of the investigation.      Agent Freeman did not believe

Defendant was ready to cooperate fully because Defendant was hesitant and claimed

involvement only as a drug user, which Agent Freeman did not believe.

                2. The February 5, 2015 Statement

        A few days prior to February 5, 2015, Defendant sent a text message to Agent Freeman to

initiate contact.   In a subsequent phone call, Defendant indicated he was ready to cooperate and

they agreed to meet.     Agent Freeman recalled that during this time frame, Defendant raised an

issue about a truck seizure notice he received from DTF authorities.   Defendant was concerned

about his truck, which had not been physically seized the day of the search, although about

$2,000 cash was seized.      Agent Freeman denied any involvement with or prior knowledge of

the issuance of the truck seizure notice and he denied causing any seizure notice to issue as a




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   Case 1:15-cr-00091-TRM-SKL            Document 341        Filed 09/28/16    Page 6 of 27
                                         PageID #: 2094
means to encourage Defendant to cooperate.

       Agent Freeman wanted to meet away from Defendant’s hometown so Defendant would

not be seen talking to the police since he anticipated Defendant would cooperate with the

ongoing investigation.      At Defendant’s suggestion that they meet at a particular bar or

O’Charley’s Restaurant, the meeting was set for February 5, 2015 at the public restaurant.

Defendant drove himself to the restaurant and met with Agent Freeman and another TBI agent.

The agents were sitting across from each other in a booth eating appetizers and drinking

nonalcoholic beverages when Defendant arrived.      Defendant pulled up a chair to sit at the end

of the booth table.

       During the ensuing interview, Defendant was not handcuffed, guns were not drawn, there

was no yelling or threats made, and Defendant’s movement was not restricted.     Agent Freeman

noticed no strange or outrageous behavior by Defendant or any indication he was intoxicated,

high, or had been awake for days.          Defendant appeared calm, subdued, congenial, and

cooperative. Because it was not a custodial interrogation, Defendant was not advised of his

Miranda rights.       The agents offered to purchase food for Defendant, but instead Defendant

ordered two glasses of beer.       During the interview, Defendant made statements about his

knowledge of illegal drug activity. 6     Agent Freeman believed Defendant was being more

cooperative because he was more truthful than his prior interview, provided more distribution

information, and was no longer claiming to be just a drug user or addict.

       The men left the restaurant together after Agent Freeman paid the bill. They walked to

Defendant’s truck together and Defendant said he wanted to cooperate and he gave Agent

Freeman the phone number of a person they had discussed during the interview from his cell
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 Agent Freeman prepared an Investigative Report of the interview, which was entered as
Government’s Exhibit 4.


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    Case 1:15-cr-00091-TRM-SKL           Document 341        Filed 09/28/16    Page 7 of 27
                                         PageID #: 2095
phone.    Defendant was not arrested; instead, he left the restaurant driving his own truck.

Agent Freeman said he would not have let Defendant drive if he thought Defendant was

intoxicated or in any way impaired or unable to safely drive.         Agent Freeman denied being

aware of Defendant’s claim that he ran off the road damaging his truck later that day due to

impairment.

         Between February 5 and September 9, 2015, Agent Freeman met with Defendant a few

more times to further the investigation.    During one of the meetings in April, Defendant made a

controlled call to another target of the investigation.       Again, Agent Freeman observed only

normal behavior from Defendant during these contacts, although Defendant was understandably

a little nervous about engaging in active cooperation.

               3. The September 9, 2015 Statement

         On August 25, 2015, an indictment was returned against Defendant and several alleged

co-conspirators [Doc. 1].7   On the morning of September 9, 2015, Defendant was arrested at his

home.     Later that same morning, Agent Freeman and Officer Cherry conducted a post-arrest

interview of Defendant at the McMinn County Sheriff’s Office.        Agent Freeman orally advised

Defendant of his Miranda rights and presented a standardized rights waiver form to Defendant

and Defendant waived his rights and signed the form.8     Defendant allegedly again made several

incriminating statements during this post-arrest interview.

         During this interview, Agent Freeman again noticed no strange or extreme behavior by


7
  In two counts of the 32-count indictment, Defendant is charged with conspiracy to distribute and
possess with intent to distribute a large quantity of methamphetamine in violation of 21 U.S.C. §§
841(a)(1), 841(b)(1)(A), and 846 and with distribution of a methamphetamine mixture on or about
July 31, 2014 in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C) [Doc. 1 at Page ID # 1-14, ¶¶
1, 13].
8
 Government’s Exhibit 5 is the executed form. Again, Agent Freeman prepared an Investigative
Report of the interview, which was entered as Government’s Exhibit 6.


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    Case 1:15-cr-00091-TRM-SKL             Document 341         Filed 09/28/16   Page 8 of 27
                                           PageID #: 2096
Defendant or any other indication Defendant was incapable of voluntary consent or confession

because he was intoxicated, high, or had been awake for days.         Instead, Defendant appeared

congenial and cooperative and his answers were responsive and normal.        At some point, Agent

Freeman became aware that a drug test conducted on Defendant that day by a pretrial services

officer was positive for methamphetamine and cocaine, but he does not recall knowing this

during the interview.    Agent Freeman does not know when Defendant fell asleep after the

interview.

       B. Defendant’s Testimony

       Defendant’s testimony contradicted a lot of the above testimony, particularly the

testimony about his ability to make a knowing and voluntary waiver of his rights during each

interview. With respect to each interview, Defendant testified he was high and had been awake

for weeks, and was unable to give a voluntary, knowing and intelligent waiver and confession.

       Defendant admitted to 20 years’ experience with taking methamphetamine and that he

used at least an eight-ball of the drug daily during the relevant time period.   Defendant testified

that due to his vast 20 years of experience using methamphetamine, he was able to talk to people,

and run two businesses while consuming the drug.      One of the businesses involved selling cars,

trucks and equipment to various people and the other was a tire shop. Defendant testified he

consumed methamphetamine without “falling apart.”

       Defendant said he felt pressured to talk to Agent Freeman because he was concerned for

his daughter as DCS “is threatened to being called every time the police are involved at [his]

house,” he was worried about losing his truck, and he was afraid he would go back to prison

because he was using drugs while on parole.

       Defendant admitted to having several prior felony convictions and to being concerned




                                               9
   Case 1:15-cr-00091-TRM-SKL            Document 341         Filed 09/28/16      Page 9 of 27
                                         PageID #: 2097
about the possible sentence (25-to-30 years) he faces in this case. Defendant stated he has

never been involved in the selling or distribution of methamphetamine; he just uses it.

Defendant also said all three of his statements were entirely false and that he had made up the

information he provided to Agent Freeman so that he could create the appearance of cooperation

because of his concerns listed above.     Defendant stated he knew none of the information he

provide to Agent Freeman could be proven.

               1. The July 31, 2014 Statement and Search

       When the officers arrived at Defendant’s residence on July 31, 2014, Defendant started to

run from the shed where he was smoking methamphetamine with two other men. Defendant

testified he stopped because he realized his girlfriend and infant were in the house. On direct

examination he said he signed the consent forms because his parole officer was there and he had a

parole contract that required him to submit to parole searches. On cross examination, Defendant

testified he could not remember if the agents read the consent form to him and he does not

remember signing the form. Defendant said the signature on the form is not his sober signature

and also said that the search form was not filled out when he signed it.

       Defendant did not speak with his parole officer, but he thought a parole search was being

conducted. Defendant also testified that he was told his parole officer was there and that he had to

consent to a search, but Defendant did not identify who allegedly told him this. At another point,

Defendant indicated no one explained the parole search to him, he just knew that he had signed a

parole contract allowing searches.

       During the interview, officers first asked Defendant about whether he had guns or drugs,

and he told the officers he had a pipe and that he and the other two men present were smoking

methamphetamine. He was kept out of his house by both Agent Freeman and Officer Moore who




                                              10
  Case 1:15-cr-00091-TRM-SKL             Document 341 Filed 09/28/16             Page 10 of 27
                                         PageID #: 2098
alternated staying with him. He said he gave a statement to Agent Freeman that day because he

was high and did not know what he was doing.

       Defendant testified that at the “very end” of the search, he was allowed into the house to

talk to his girlfriend. Officer Cherry told him he did not deserve a beautiful baby daughter and

that they would call DCS if Defendant did not tell the officers where his wallet and money were

located. The DCS threat was made in connection with finding Defendant’s money. The officers

then “stole” his money by seizing it.

       Defendant testified he was high on methamphetamine that day and had been consuming

one or two 8-balls of methamphetamine each day for weeks at a time. On July 31, he had been

awake for two weeks.

       After the officers left, Defendant threw away the business card given to him by Agent

Freeman and never contacted him again until he got the seizure notice discussed below. He also

said it was possible that he contacted Agent Freeman, but could not remember it because he used

methamphetamine “every day of his freedom” except when he was in rehab.

               2. The February 5, 2015 Statement

       When Defendant got a seizure notice for his truck from DTF, he called the number on the

notice and was told that he had to talk to Agent Freeman, so he called Agent Freeman after getting

his number. A meeting at O’Charley’s was arranged to discuss the seizure notice. Defendant

could not remember how the meeting at O’Charley’s was arranged, but he remembered pulling up

a chair and sitting at the end of the booth. He testified he had no fear about being able to leave and

was never handcuffed. He was there to talk about his truck, but was willing to talk about the other

things also. He admitted giving a phone number to Agent Freeman of a person they discussed

when they were in the parking lot, but again said everything he told them was false.




                                              11
  Case 1:15-cr-00091-TRM-SKL             Document 341 Filed 09/28/16              Page 11 of 27
                                         PageID #: 2099
         During this interview, Defendant was in the same condition “as always.”           He had

consumed an 8-ball of methamphetamine and was high and had been up for a week. He said he

ran off the road and “busted up” his truck later that same day because he was high.

         He had some contact with Agent Freeman after the meeting, but his motive in contacting

Agent Freeman was to get his “stolen” money back. He denied cooperating, but on cross

examination admitted to making a controlled call at the request of Agent Freeman. Defendant

said when he made the call he was not in his right mind, but also that the call was about a truck he

sold, not any drug conspiracy.

                3. The September 9, 2015 Statement

         On the morning of his arrest, Defendant was again high, had been out all night doing drugs

and had been awake for about a week. He was under the influence of methamphetamine and

cocaine.    He was functioning that day because he has 20 years’ experience with taking

methamphetamine. However, Defendant reported that he fell asleep in handcuffs while sitting

with several codefendants the day of his arrest.

II.      ANALYSIS

         Defendant seeks to suppress the incriminating statements he made during his three

interrogations because his waiver of rights and confessions were not voluntary, knowing, and

intelligent. Defendant also seeks to suppress all evidence located during the search on July 31,

2014, because his consent was not voluntary, knowing, and intelligent and, alternatively, he seeks

to suppress the evidence in his camper and truck because the scope of his consent was exceeded.




                                              12
      Case 1:15-cr-00091-TRM-SKL         Document 341 Filed 09/28/16             Page 12 of 27
                                         PageID #: 2100
         A. Applicable Standards

                1. Statements

         The Fifth Amendment to the United States Constitution provides that a defendant cannot

“be compelled in any criminal case to be a witness against himself.” United States v. Protsman,

74 F. App’x 529, 532 (6th Cir. 2003) (citing U.S. Const. amend. V.). The Sixth Amendment

provides “[i]n all criminal prosecutions, the accused shall enjoy the right . . . to have the Assistance

of Counsel for his defence.” U. S. Const. amend. VI. In Miranda, the Supreme Court upheld a

suspect’s constitutional right against compelled self-incrimination and established that no criminal

suspect may be subjected to custodial interrogation without first being advised of the right to have

counsel present and the right to remain silent. 384 U.S. at 478-79. “To ensure compliance with

this rule, incriminating statements elicited during custodial interrogation prior to Miranda

warnings cannot be admitted at trial.” United States v. Malcolm, 435 F. App’x 417, 420 (6th Cir.

2011).

         Miranda’s procedural safeguards apply to suspects only if they are subjected to a custodial

interrogation, but regardless of whether formal criminal proceedings have begun. United States

v. Ray, 803 F.3d 244, 266 n.12 (6th Cir. 2015); see also Hoffner v. Bradshaw, 622 F.3d 487, 511

(6th Cir. 2010). “A suspect is ‘in custody’ for Miranda purposes if there has been a ‘formal arrest

or restraint on freedom of movement.’” Ray, 803 F.3d at 279 n.12 (quoting Mason v. Mitchell,

320 F.3d 604, 631 (6th Cir. 2003) (quoting Oregon v. Mathiason, 429 U.S. 492, 495 (1977))).

The person seeking to suppress evidence bears the initial burden of establishing he was in custody.

United States v. Lawrence, 1989 WL 153161, at *5 (6th Cir. Dec. 18, 1989); see also United States

v. Rodriguez-Suazo, 346 F.3d 637, 643 (6th Cir. 2003) (“It is well settled that in seeking

suppression of evidence the burden of proof is upon the defendant to display a violation of some




                                               13
  Case 1:15-cr-00091-TRM-SKL              Document 341 Filed 09/28/16               Page 13 of 27
                                          PageID #: 2101
constitutional or statutory right justifying suppression.”) (quoting United States v. Feldman, 606

F.2d 673, 679 n.11 (6th Cir. 1979)).

       Whether a defendant was in custody for purposes of Miranda is a mixed question of fact

and law.      See United States v. Swanson, 341 F.3d 524, 528 (6th Cir. 2003).     “To differentiate

between custodial and noncustodial encounters, courts consider the totality of the circumstances of

the encounter . . . .” United States v. Conder, 529 F. App’x 618, 621 (6th Cir. 2013). “[C]ourts

focus on the objective circumstances of the interrogation, to determine how a reasonable person in

the position of the individual being questioned would gauge the breadth of his or her freedom of

action[.]” United States v. Panak, 552 F.3d 462, 465 (6th Cir. 2009) (citations and internal

quotation marks omitted).

           “[P]olice encounters in a person’s home typically do ‘not rise to the kind of custodial

 situation that necessitates Miranda warnings’ because the home ‘presumably is the one place

 where individuals will feel most unrestrained in deciding whether to permit strangers into the

 house, in moving about once the police are there, in speaking as little or as much as they want, in

 curbing the scope of the interview or in simply asking the officers to leave.’” Conder, 529 F.

 App’x at 622 (quoting Panak, 552 at 465-66). See also United States v. Gillman, 432 F. App’x

 513, 516 (6th Cir. 2011) (“an in-home encounter between police and a citizen is generally

 non-custodial.”); United States v. Hinojosa, 606 F.3d 875, 883 (6th Cir. 2010) (holding police

 questioning in the home is “significant” to the custody inquiry because “such a venue generally

 does not present a coercive environment”).

       The following factors guide the custody inquiry: (1) the location of the interview; (2) the

length and manner of the questioning; (3) whether there was any restraint on the individual’s

freedom of movement; and (4) whether the individual was told he was not required to answer the



                                               14
  Case 1:15-cr-00091-TRM-SKL              Document 341 Filed 09/28/16             Page 14 of 27
                                          PageID #: 2102
questions posed by law enforcement. See, e.g., United States v. Hinojosa, 606 F.3d 875, 883 (6th

Cir. 2010). No one factor is determinative. See, e.g., Conder, 529 F. App’x at 623 (holding

defendant “overstates the importance of the fact that the agents did not tell him that he could refuse

to answer questions and could terminate the interrogation at will. Although these factors cut in

his favor, this court has never held that such admonitions are a necessary condition of a

noncustodial interrogation.”).

       If a defendant was subjected to a custodial interrogation, then:

                       Statements made by a defendant in response to
               interrogation while in police custody are not admissible
               unless the defendant has first been apprized of the
               constitutional right against self-incrimination and has
               validly waived this right. Such a waiver must be made
               voluntarily and free of any coercion. Similarly, an accused’s
               confession must be made freely, voluntarily and without
               compulsion or inducement of any sort. The government
               bears the burden of proving–by a preponderance of the
               evidence–the voluntariness of both an accused’s Miranda
               waiver and confession.

                       The test for whether a Miranda waiver is voluntary is
               essentially the same as the test for whether a confession is
               voluntary. In determining whether a confession is
               involuntary due to police coercion, this court employs a
               three-step analysis: (i) the police activity was objectively
               coercive; (ii) the coercion in question was sufficient to
               overbear the defendant’s will; (iii) and the alleged police
               misconduct was the crucial motivating factor in the
               defendant’s decision to offer the statements.

United States v. Binford, 818 F.3d 261, 271 (6th Cir. 2016) (citations and internal quotation marks

omitted).

       Applying this test, the Court “must first determine whether the police activity was

objectively coercive.” Id.; see also United States v. Gatewood, 230 F.3d 186, 193 (6th Cir. 2000)

(admitting confession where defendant “failed to advance any evidence of coercive police




                                              15
  Case 1:15-cr-00091-TRM-SKL             Document 341 Filed 09/28/16              Page 15 of 27
                                         PageID #: 2103
activity”); United States v. Anderson, 695 F.3d 390, 394 (6th Cir. 2012) (“the waiver must be both

the product of a free and deliberate choice rather than intimidation, coercion, or deception and

made with a full awareness of both the nature of the right being abandoned and the consequences

of the decision to abandon it.” (internal quotation marks omitted)).

       To determine whether a defendant understood and waived his Miranda rights, courts

examine the totality of the circumstances, including the suspect’s age, experience, education,

background, and intelligence. See e.g., Garner v. Mitchell, 557 F.3d 257, 263 (6th Cir. 2009);

United States v. Montgomery, 621 F.3d 568, 573 (6th Cir. 2010). “An express written or oral

statement of waiver of the right to remain silent or of the right to counsel is usually strong proof of

the validity of that waiver, but is not inevitably either necessary or sufficient to establish waiver.”

North Carolina v. Butler, 441 U.S. 369, 373 (1979). See also United States v. Brown, 443 F.

App’x 956, 958 (6th Cir. 2011) (holding the procurement of a valid waiver, “generally produce[s]

a virtual ticket of admissibility”); United States v. Eicher, No. 90-1717, 1991 WL 29199, at *2 (6th

Cir. Mar. 7, 1991) (holding “a waiver may be implied when a suspect answers questions or

provides information after being fully informed of his Miranda rights”); United States v. Vaughn,

496 F.2d 622, 622 (6th Cir. 1974) (holding that “the refusal to sign a written waiver, standing

alone, does not render inadmissible statements or evidence voluntarily given after full warnings”).

       “The Fifth Amendment’s protection against compelled self-incrimination, from which

Miranda’s warning requirement is derived, prevents the government from introducing unwarned

statements against a criminal defendant at trial, but it does not apply to physical evidence.”

United States v. Reese, 509 F. App’x. 494, 503 (6th Cir. 2012) (citation omitted). “The Miranda

rule protects against violations of the Self–Incrimination Clause, which, in turn, is not implicated

by the introduction at trial of physical evidence resulting from voluntary statements.” Id. at 503




                                               16
  Case 1:15-cr-00091-TRM-SKL              Document 341 Filed 09/28/16              Page 16 of 27
                                          PageID #: 2104
(alteration and internal quotation marks omitted). See also United States v. Lewis, 110 F. App’x

569, 572 (6th Cir. 2004) (“The police’s failure to issue Lewis a Miranda warning thus does not

prevent the admission into evidence of the subsequently discovered firearm—the physical,

nontestimonial fruit of his voluntary statements.”).

               2. Search

       The Fourth Amendment of the United States Constitution guards against unreasonable

searches and seizures. U.S. Const. amend. IV (“The right of the people to be secure in their

persons, houses, papers and effects, against unreasonable searches and seizures, shall not be

violated . . . .”). Perhaps the most significant place protected by the Fourth Amendment is an

individual’s home. See Minnesota v. Carter, 525 U.S. 83, 94 (1998) (Scalia, J., concurring)

(noting “a man’s home is his castle”) (emphasis omitted); United States v. Nelson, 459 F.2d 884,

885 (6th Cir. 1972) (same).       Thus, a search conducted in a home without a warrant is

presumptively unreasonable. Michigan v. Fisher, 558 U.S. 45, 47 (2009). This presumption,

however, can be overcome in limited circumstances when an exception to the warrant requirement

applies. Id. One such circumstance is where an individual consents to a search of his home.

United States v. Carter, 378 F.3d 584, 587 (6th Cir. 2004) (en banc) (“It is well-settled that a

person may waive his Fourth Amendment rights by consenting to a search.”) (citations omitted).

       An individual can consent in a number of ways, id. (“Consent to a search ‘may be in the

form of words, gesture, or conduct.’”) (quoting United States v. Griffin, 530 F.2d 739, 742 (7th

Cir. 1976), but that consent must be given “freely and voluntarily,” Bumper v. North Carolina, 391

U.S. 543, 548 (1968). “Whether consent was free and voluntary so as to waive the warrant

requirement of the Fourth Amendment is ‘a question of fact to be determined from the totality of

all the circumstances.’” Carter, 378 F.3d at 587 (quoting Schneckloth v. Bustamonte, 412 U.S.




                                              17
  Case 1:15-cr-00091-TRM-SKL             Document 341 Filed 09/28/16           Page 17 of 27
                                         PageID #: 2105
218, 227 (1973)). The government must show, by a preponderance of the evidence, an individual

validly consented, United States v. Hinojosa, 606 F.3d 875, 881 (6th Cir. 2010), which requires a

showing that an individual’s consent was “unequivocal, specific, and intelligently given,

uncontaminated by any duress or coercion,” United States v. Moon, 513 F.3d 527, 537 (6th Cir.

2008) (quoting United States v. McCaleb, 552 F.2d 717, 721 (6th Cir. 1977)).

          Even if an individual is found to have validly consented, he can still challenge a search on

the basis that it exceeded the scope of his consent. See United States v. Canipe, 569 F.3d 597, 604

(6th Cir. 2009). As with most Fourth Amendment analysis, the reasonableness touchstone guides

the resulting analysis concerning the scope of consent. Florida v. Jimeno, 500 U.S. 248, 250-51

(1991).     Specifically, a court reviewing whether officers stayed within the bounds of an

objectively reasonable search should ask “what would the typical reasonable person have

understood by the exchange between the officer and the suspect?” Id. at 251.

          B. The July 31, 2014 Statement and Search

             1. Defendant Was Not in Custody and Was Advised of and Waived his Rights

          There is little to no evidence to suggest Defendant was subjected to a custodial interview

on July 31, 2014. First, there is no evidence to indicate Defendant was placed under formal arrest.

Second, the factors that guide the custody inquiry all point to a noncustodial interview because: (1)

Defendant was interviewed at his premises; (2) while the interview took place over the course of

four hours, the manner of the questioning was not coercive or unreasonable; (3) there was little, if

any, restraint on Defendant’s freedom of movement; and (4) Defendant was told both in writing

and orally that he was not required to answer the questions posed by law enforcement. See, e.g.,

Hinojosa, 606 F.3d at 883. It is unclear whether Defendant is claiming that this first interview

was custodial because he could not enter his house when he first wanted to do so. To the extent he




                                                18
  Case 1:15-cr-00091-TRM-SKL               Document 341 Filed 09/28/16             Page 18 of 27
                                           PageID #: 2106
may be making this claim, it fails under a totality-of-the-circumstances review because Defendant

retained the freedom to move about—without handcuffs or other restraints—or leave the premises

even if he was kept out of his house for some period of time.

       Even if the factors pointed toward a custodial interrogation, however, Defendant’s claims

regarding his first statement would fail because I FIND the officers provided a proper Miranda

warning and obtained a valid waiver and a knowing and voluntary confession along with

Defendant’s consent to a search.

           2. Defendant’s Waiver, Consent, and Confession Were Knowing and Voluntary

       The issues raised by Defendant regarding the first interview and search that remain are

whether his waiver, consent, and confession were knowing and voluntary and, if so, whether the

officers exceeded the scope of his consent to search. It is undisputed that Defendant signed the

advice of rights and waiver and consent forms. In the forms, which were read aloud to Defendant,

he was advised that he had the right to refuse to talk and to refuse consent to search and he

acknowledged that his consent to both the search and the interview were voluntarily and without

coercion by or promises from law enforcement agents. However, the Court must still consider

Defendant’s intertwined arguments that police coercion or his intoxication rendered his waiver,

consent, and statement involuntary.

       I will address Defendant’s claim of being too high to make a voluntary waiver, consent, or

confession first. “Evidence that a defendant suffered, at the relevant time, from a condition or

deficiency that impaired his cognitive or volitional capacity is never, by itself, sufficient to warrant

the conclusion that his confession was involuntary for purposes of due process; some element of

police coercion is always necessary.” United States v. Newman, 889 F.2d 88, 94 (6th Cir. 1989).

As the Supreme Court has explained, “[a]bsent police conduct causally related to the confession,




                                               19
  Case 1:15-cr-00091-TRM-SKL              Document 341 Filed 09/28/16               Page 19 of 27
                                          PageID #: 2107
there is simply no basis for concluding that any state actor has deprived a criminal defendant of

due process of law.” Colorado v. Connelly, 479 U.S. 157, 164-65 (1986) (indicating that if the

defendant’s state of mind makes him susceptible to coercion, a lesser degree of coercive conduct

may render the confession involuntary, but explaining that “mere examination of the [defendant]’s

state of mind can never conclude the due process inquiry.”) id. at 165. Thus, police do not act

coercively by conducting an interview with an intoxicated defendant unless they know of the

defendant’s weakened mental state and choose to exploit it. See United States v. Treadwell, 11 F.

App’x 502, 511 (6th Cir. 2001).

       While intoxication is a factor in determining the voluntariness of a consent or waiver of

rights, a defendant can voluntarily waive his rights or consent even when intoxicated. See e.g.,

United States v. Perry, 703 F.3d 906, 909 (6th Cir. 2013) (intoxication does not necessarily make

consent involuntary); United States v. Montgomery, 621 F.3d 568, 572-73 (6th Cir. 2010) (citing

United States v. Watters, 572 F.3d 479, 483 (8th Cir. 2009) (“Factors relevant to the voluntariness

of a defendant’s consent include whether the defendant was intoxicated, but intoxication alone

does not render consent invalid.”); United States v. Scheets, 188 F.3d 829, 839-40 (7th Cir. 1999)

(“The mere fact that an individual is intoxicated does not render consent involuntary. . . . It is

simply another factor to be taken in consideration when assessing the totality of the

circumstances.”); United States v. Gay, 774 F.2d 368, 377 (10th Cir. 1985) (holding that

defendant “can be too intoxicated to operate a motor vehicle, but rational enough to [consent]”).

       During the hearing, Defendant boasted of his ability to run businesses, talk to people, and

not “fall apart” during his 20 years of extensive methamphetamine abuse. At the same time, he

claimed that on each of the three occasions he gave statements to Agent Freeman over the course

of some 14 months, he was too high and too sleep deprived to know what he was doing. The



                                              20
  Case 1:15-cr-00091-TRM-SKL             Document 341 Filed 09/28/16             Page 20 of 27
                                         PageID #: 2108
officers’ testimony soundly disputes this claim. I FIND Defendant’s testimony during the

hearing was far less credible than the officers. For example, Defendant gave inconsistent

testimony about being too high to remember certain details of his interviews, while claiming he

was coherent and rational enough to plan and provide false statements that could not be proven.

Even in Defendant’s own account of the first interview, he was able to accurately observe the

presence of his probation officer and understand the potential impact of his parole conditions on

the issue of a search. Moreover, Defendant’s own testimony indicates he was able to engage in a

seemingly rational conversation.

        Even if Defendant was high and sleep-deprived at the time of his first confession, in

assessing the totality of the circumstances I FIND no evidence the officers knew of and took

advantage of any significant weakened mental state of Defendant. Agent Freeman described

Defendant as cooperative, coherent, and fully able to engage in a logical conversation over

several hours. The officers credibly testified they did not threaten Defendant, draw weapons, or

use harsh language. Defendant was told that he could refuse to answer questions and refuse to

consent to a warrantless search. Defendant was at home. Even by his own account, Defendant

acquiesced in answering questions, albeit falsely according to Defendant. I CONCLUDE the

evidence does not indicate Defendant, a much practiced drug user with vast experience with the

criminal justice system, was too intoxicated to make a knowing and voluntary waiver, consent,

and confession. “A defendant ‘must show more than a subjective belief of coercion, but also

some objectively improper action on the part of the police’ in order to invalidate consent.”

United States v. Elkins, 300 F.3d 638, 648 (6th Cir. 2002) (quoting Crowder 62 F.3d at 787).

There is no evidence in the record suggesting any objectively improper action on the part of the

officers.



                                             21
   Case 1:15-cr-00091-TRM-SKL           Document 341 Filed 09/28/16            Page 21 of 27
                                        PageID #: 2109
       In addition, Defendant provides little support for his claim of coercion. To the extent he is

claiming the agents used the threat of a parole violation or arrest to pressure him, it is well

established that “custody, or the threat of custody does not automatically invalidate the

voluntariness of consent,” nor does “fear of arrest.” United States v. Carr, 187 F. App’x 602, 607

(6th Cir. 2006). See also United States v. Watson, 423 U.S. 411, 424 (1976) (holding custody, by

itself, does not render consent coerced). Defendant’s suggestion that Officer Cherry threatened to

call DCS or that he knew DCS could be called does not equal improper action by the officers.

Defendant’s own testimony indicates that at most DCS was not even mentioned until toward the

end of the search and long after his statement, waiver, and consent to search were given.

       Finally, Defendant also complains that the officers explicitly or implicitly threatened a

parole search. Defendant appears to argue that he did nothing more than submit to a claim of

lawful authority because he could have been the subject of a parole search and, thus, he did not

give a lawful consent.    Consent, however, is not deemed involuntary merely because law

enforcement officers suggest they will find another lawful method of searching if a defendant does

not consent. See United States v. Lucas, 640 F.3d 168, 174 (6th Cir. 2011) (holding an officer’s

warning that a search warrant would be sought if consent was not granted was a proper statement

that did not taint the subsequent search); United States v. Salvo, 133 F.3d 943, 954-55 (6th Cir.

1998) (holding it is well-settled that an agent’s comment that he would get a search warrant if

consent was refused does not invalidate or taint consent).

       Even if Defendant was high at the time of this first confession, in assessing the totality of

the circumstances, I FIND no evidence the officers took advantage of any significant weakened

mental state of Defendant or acted coercively.         Agent Freeman described Defendant as

cooperative, coherent, and fully able to engage in a conversation over several hours. There was




                                             22
  Case 1:15-cr-00091-TRM-SKL            Document 341 Filed 09/28/16              Page 22 of 27
                                        PageID #: 2110
no credible evidence presented to indicate Defendant, a very experienced drug abuser, was

impaired beyond the capacity to give valid consent or to make a voluntary statement. The officers

credibly testified they did not threaten Defendant, no weapons were drawn, and no harsh language

was used. Defendant had largely unrestrained freedom of movement during the noncustodial

questioning and acquiesced to answering questions. Defendant was even told that he could refuse

both to answer questions and consent to search when such admonitions were not required.

       Accordingly, I FIND no support for Defendant’s claim of coercion or involuntary waiver,

consent or confession.

              3. Scope of Consent

       Turning to the issue of whether the officers’ search exceeded the scope of Defendant’s

valid consent, the “Waiver to Search Residence” signed by Defendant authorized the officers to

“conduct a complete search of my residence located at 410 Thacker Lane Etowah, TN.”

[Government’s Exhibit 2]. Although I have determined Defendant’s consent was valid, the

Court must still decide if the officers exceeded the scope of his consent when they searched the

camper and truck parked on Defendant’s property. Just as the Supreme Court in Jimeno

considered “whether it is reasonable for an officer to consider a suspect’s general consent to a

search of his car to include consent to examine a paper bag lying on the floor of the car,” 500 U.S.

at 250-51, this Court must determine whether it was reasonable for the officers to have

considered Defendant’s consent to search his residence to include consent to search the camper

and truck.9

       Defendant argues the consent form should be read as limiting the search to his “residence”


9
  The Jimeno scope of consent analysis applies to a residence. See United States v. Lucas, 640
F.3d 168, 177-78 (6th Cir. 2011).



                                              23
    Case 1:15-cr-00091-TRM-SKL           Document 341 Filed 09/28/16              Page 23 of 27
                                         PageID #: 2111
meaning his house only. The Government argues the form authorized a “complete search” of

the “premises” at the given address. Both arguments have some merit. Tellingly, however, no

evidence was presented that Defendant ever once asked the officers to leave or protested that they

were acting outside the scope of his consent. Instead, Defendant actively cooperated during the

entire search and interview according to the credible testimony of Agent Freeman.            This

cooperation and his complete failure to object in any way demonstrates the search of the camper

and truck were either explicitly or implicitly within the scope of his consent.

       In any scope of consent question, the “scope of a search is generally defined by its

expressed object.” Jimeno, 500 U.S. at 251 (citation omitted). The waiver form gives the

officers permission to take from Defendant’s “premises any letters, papers, materials or other

property which they may desire.” [Government’s Exhibit 2]. It is hard to imagine a more

expansive object of the search and Defendant was well aware the officers were searching for

evidence of drug trafficking. Defendant cannot reasonably contend that the officers had no

reasonable basis to believe evidence of drug trafficking might be found in the camper and truck

parked at his property under the circumstances.

       The only argument Defendant has made is that the consent form itself limited the officers

to searching the rooms within his house.          To the contrary, I CONCLUDE the officers

reasonably understood the consent to include the outbuildings and parked camper and truck

located at the property given Defendant’s complete failure to object that the officers were going

beyond the scope of his consent.    See e.g., Jimeno, 500 U.S. at 251; Shamaeizadeh v. Cunigan,

338 F.3d 535, 547 (6th Cir. 2003) (holding a search is valid “as long as an officer has an

objectively reasonable belief that the search was within the course of consent.”); Lucas, 640 F.3d

at 178 (holding consent to search a computer was implied because the defendant did not object



                                              24
  Case 1:15-cr-00091-TRM-SKL             Document 341 Filed 09/28/16              Page 24 of 27
                                         PageID #: 2112
when an officer searched the computer files); United States v. Sanchez, 608 F.3d 685, 691-92

(10th Cir. 2010) (the scope of consent was not exceeded because the defendant’s daughter

consented to a search of whole house and did not object when officers searched the garage).

       Given this conclusion, it is not necessary to address the Government’s alternative

argument regarding inevitable discovery. As argued by the Government, however, even if

evidence is initially obtained improperly, it may still be admissible if it would have been

inevitably discovered through lawful independent means. Murray v. United States, 487 U.S. 533,

539 (1988); United States v. Hodge, 714 F.3d 380, 388 (6th Cir. 2013). Such is the case here.

Had Defendant attempted to limit or revoke his consent, a parole search could have been

conducted, especially since Defendant had already admitted to having a methamphetamine pipe

and abusing drugs in violation of his parole. Thus, the items discovered in the camper and truck

pursuant to the consent would have been found even if the consent form is determined to limit the

search to the rooms in Defendant’s house.

           C. The February 5, 2015 Statement

       The undisputed evidence demonstrates Defendant was not subjected to custodial

interrogation at the time he made his second confession. The second interview, which took

place at a public restaurant, was initiated by Defendant. Even if Agent Freeman manipulated

Defendant into initiating contact as Defendant seems to suggest without any proof, Defendant

suggested the restaurant as one of two possible meeting locations, Defendant drove himself to the

interview, and Defendant selected a seat at the end of the table where he was free to leave

anytime. Indeed, when the interview was over, Defendant provided a phone number to Agent

Freeman and then drove away in his own vehicle. As argued by the Government, nothing about

this encounter even remotely suggests it was a custodial interrogation that would trigger a



                                             25
  Case 1:15-cr-00091-TRM-SKL            Document 341 Filed 09/28/16            Page 25 of 27
                                        PageID #: 2113
Miranda warning requirement.

       Likewise there is no evidence of police coercion or intoxication sufficient to overwhelm

Defendant’s free will for the same reasons noted above. That Defendant may have driven off the

road later that day does not indicate his confession—again which he claims was purposely

false—was involuntary. See e.g., Perry, 703 F.3d at 910.

       Accordingly, I CONCLUDE the evidence does not indicate either police coercion or that

Defendant was too intoxicated to make a knowing, intelligent, and voluntary confession during his

second interview.

           D. The September 9, 2015 Statement

       The post-arrest interview of, and confession by, Defendant was clearly a custodial

interrogation. As such, Miranda was triggered. The evidence clearly demonstrates Defendant

was advised of his rights both orally and in writing, and that he waived those rights by signing the

waiver form acknowledging he was speaking with the agents voluntarily and in the absence of any

coercion. Accordingly, I FIND that Defendant’s third statement was voluntary. See e.g., United

States v. Miller, 48 F. App’x 933, 952 (6th Cir. 2002) (finding that a statement was voluntary

despite the fact defendant was handcuffed and surrounded by police officers). For the reasons

noted above, I do not find any coercive conduct by the officers and do not find Defendant was too

high to give a voluntary statement. Even if Defendant fell asleep soon after the interview and

although he tested positive for cocaine and methamphetamine in his system that day, the

Government has met its burden of proving by a preponderance of the evidence that the third

statement, like the two prior statements, was voluntary, knowing and intelligent. See e.g.,

Perry, 703 F.3d     at 909 (holding consent was voluntary despite fact that defendant “was




                                              26
  Case 1:15-cr-00091-TRM-SKL             Document 341 Filed 09/28/16             Page 26 of 27
                                         PageID #: 2114
handcuffed when she gave it, that the police were armed, that the police never told her that she

could decline to consent, and that she was drunk at the time.”).

        Accordingly, I CONCLUDE the evidence does not indicate either police coercion or that

Defendant was too intoxicated to make a knowing, intelligent, and voluntary confession during his

third interview.

III.    CONCLUSION

        For the reasons stated above, I RECOMMEND10 that Defendant’s motion to suppress

[Doc. 139] be DENIED in its entirety.


                                             s/fâátÇ ^A _xx
                                             SUSAN K. LEE
                                             UNITED STATES MAGISTRATE JUDGE




10
   Any objections to this report and recommendation must be served and filed within 14 days after
service of a copy of this recommended disposition on the objecting party. Such objections must
conform to the requirements of Rule 59(b) of the Federal Rules of Criminal Procedure. Failure to
file objections within the time specified waives the right to appeal the district court’s order.
Thomas v. Arn, 474 U.S. 140, 149 n.7 (1985). The district court need not provide de novo review
where objections to this report and recommendation are frivolous, conclusive, or general. Mira v.
Marshall, 806 F.2d 636, 637 (6th Cir. 1986). Only specific objections are reserved for appellate
review. Smith v. Detroit Fed’n of Teachers, 829 F.2d 1370, 1373 (6th Cir. 1987).


                                             27
     Case 1:15-cr-00091-TRM-SKL         Document 341 Filed 09/28/16           Page 27 of 27
                                        PageID #: 2115
